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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             VICTORIA DIVISION

 MISTY VALLADARES                         §
                                          §
                                          §         CIVIL ACTION NO. 6:24-CV-00012
 VS.                                      §                    (JURY REQUESTED)
                                          §
 WAL-MART STORES TEXAS, LLC               §
 ET AL                                    §

              PLAINTIFF’S RESPONSE TO DEFENDANTS’
OBJECTIONS TO PLAINTIFF’S SUMMARY JUDGMENT EVIDENCE AND REPLY
    TO DEFENDANT’S RESPONSE TO AFFIDAVIT OF EVAN M. ANDERS,
                     COUNSEL FOR PLAINTIFF

        Plaintiff, MISTY VALLADARES, responds to Defendants, WAL-MART STORES

TEXAS, LLC, ET AL’s, Objections to Plaintiff’s Summary Judgment Evidence and reply

to Defendant's response to the affidavit of Evan M. Anders, Counsel for Plaintiff.

                          ARGUMENTS AND AUTHORITIES

       Defendants object to and seek to strike some of Plaintiff’s summary judgment

evidence, arguing that it is hearsay. Defendants are incorrect. None of Plaintiff’s

evidence is hearsay.

I.     The challenged evidence is a party admission under FED. R. EVID. 801(d)(2).

       On a very basic level, the challenged evidence is not hearsay under the plain

language of FED. R. EVID. 801(d)(2). In the challenged testimony, Ms. Valladares testified

that Nora Meer—a Wal-Mart Employee acting in the scope of her employment—said, “I

know exactly who [stacked the totes this way], and they did not do it right. It’s not done

correctly.” Valladares Depo. at 69:15-16. Later, Ms. Meer said, “They should have been




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stacked … with the lids on the outside, and these two, you know, stacks should have been

pushed together.” Valladares Depo. at 79:5-7. This testimony establishes that Wal-Mart

would or should have known that the totes had been stacked incorrectly because (1) a

Wal-Mart employee created the condition; (2) it suggests that the condition had existed

from the beginning of the day; and (3) a Wal-Mart employee could have seen immediately

that the totes did not have the lids on the outside. 1 It also establishes that the improperly

stacked totes created an unreasonably dangerous condition because the totes were heavy

and not stacked correctly.

       These statements by Wal-Mart employee Nora Meer are not hearsay. Rule

801(d)(2) provides, in no uncertain terms, that “[a] statement that meets the following

conditions is not hearsay: The statement is offered against an opposing party and … was

made by the party’s agent or employee on a matter within the scope of that relationship

and while it existed[.]” FED. R. CIV. P. 801(d)(2) (emphasis added). Here, Plaintiff

specifically testified that Ms. Meer was a “Walmart employee,” and it is clear from Ms.

Meer’s statement and other context that she was speaking on a matter within the scope

of her relationship with Wal-Mart. Valladares Depo. at 69:6-8. Specifically, the fact that

Ms. Meer came over to help Plaintiff and helped restack the bins shows that the comments

were in the scope of her employment. See Valladares Depo. at 69:6-16. Courts in the Fifth

Circuit, even in the specific context of Walmart, have held that Rule 801(d)(2) applies to

Wal-Mart employee statements. See Jenkins v. Wal-Mart Stores, 956 F. Supp. 695, 696 (W.D.


1 Contrary to Defendants’ suggestion, this was not the only evidence Plaintiff cited to establish

Wal-Mart’s knowledge


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La. 1997) (“As to current [Wal-Mart] employees, if the statement concerned a matter

within the scope of employment, it would be deemed admissible.”) (citing Corley v. Burger

King Corp., 56 F.3d 709, 710 (5th Cir. 1995); Davis v. Mobil Oil Exploration & Producing S.E.,

864 F.2d 1171, 1174 (5th Cir. 1989); and Wilkinson v. Carnival Cruise Lines, Inc., 920 F.2d

1560, 1564 (11th Cir. 1991)).

        The Fifth Circuit’s decision in Corley is especially relevant here because it involved

a summary judgment proceeding. There, the Fifth Circuit Court of Appeals held that the

plaintiffs’ “testimony regarding [defendant’s employee’s] statements at the scene of the

accident fall squarely within Rule 801(d)(2)(D).” 56 F.3d at 710. It noted that the witness

was an employee of the defendant, Burger King, at the time of the accident that the

witness’s “alleged statement that he was delivering CO2 to the [Burger King] restaurant

concerned ‘a matter within the scope of the agency or employment.’” Id. The Fifth Circuit

reversed the district court’s grant of summary judgment. Here, Plaintiff testified

unambiguously that Ms. Meer was an employee of Wal-Mart, and—obviously—Ms.

Meer’s statement about the proper stacking of Wal-Mart’s totes concerns a matter within

the scope of her agency or employment. See Valladares Depo. at 69:6-16. And again, the

fact that Ms. Meer helped pick up the totes also establishes that the statement was in the

scope of her employment.

        Accordingly, Ms. Meer’s statements are not hearsay under the plain language of

FED. R. EVID. 801(d)(2) and mandatory authority interpreting that rule.

II.     The challenged evidence is not offered only for the truth of the matter

        asserted.


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       To the extent used to establish Wal-Mart’s knowledge, Ms. Meer’s statements are

not hearsay for an additional reason: They are not offered to prove the truth of the matter

asserted. Rather, they are offered to prove Wal-Mart’s knew or should have known of the

unreasonably dangerous condition.

       Federal Rule of Evidence 801 defines hearsay as a statement, other than one made

by the declarant while testifying at the trial or hearing, offered in evidence to prove the

truth of the matter asserted. See FED. R. EVID. 801(c). Applying this definition, the Fifth

Circuit Court of Appeals has explained that “[t]estimony offered to prove that the party

had knowledge or notice is not hearsay because ‘the value of the statement does not rest

upon the declarant’s credibility and, therefore, is not subject to attack as hearsay.’”

Morrison v. W. Builders of Amarillo, Inc. (In re Morrison), 555 F.3d 473, 483 (5th Cir. 2009);

see also Snyder v. Whittaker Corp., 839 F.2d 1085, 1090 (5th Cir. 1988) (holding that a

statement does not fall under the hearsay rule if it was offered to prove that certain

statements were made to defendant corporation).

       Here, Plaintiff offered Ms. Meer’s statements in part to establish that Wal-Mart

had actual or constructive knowledge of an unreasonably dangerous condition—not

merely to provide evidence that the boxes were not stacked correctly. To this extent, the

statements are not hearsay for an additional reason. 2




2 For the reasons explained in the other sections of this response, the statements are also

admissible to show that the unsafely stacked totes created a dangerous condition. But even if
the Court were to hold that the evidence is only admissible to demonstrate Defendant’s
knowledge, Plaintiff has provided evidence of an unreasonably dangerous condition through the
video and Plaintiff’s testimony about how the boxes fell on her and how heavy they were.


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       III. Plaintiff's Response to Defendant's Affidavit of Evan Anders, Counsel for

Plaintiff

       Plaintiff would reiterate, that the Court should deny Defendant's Motion for

Summary Judgment for the reasons set forth in Plaintiff's response. If and only If, the

Court disagrees with Plaintiff, would we request additional time to conduct needed

discovery. Defendant seems to paint a picture to the Court that Counsel for Plaintiff's

absence occurred in a vacuum, and was a result of Indifference. That could not be farther

from the truth.

       Defendant's counsel represents to the Court that Plaintiff had failed to Indicate a

need for additional time prior to the filing of Its motion. Had Plaintiff known of a Motion

for Summary Judgement being filed, counsel would have asked for time to conduct

depositions and resolve discovery Issues. This summary judgment was filed on the eve

of mediation, during counsel's out-of-state absence.

       As set out above, the additional discovery would be admissible under rule

801(d)(2). Since the Defendant's response, Plaintiff has noticed Defendant's corporate

representative, and employee witness, and the parties are currently working on

amending the notice for each parties’ convenience.

       The remaining Issues of liability In this case Is a premises liability claim against

Defendant. The evidence set out In Plaintiff's affidavit Is critically relevant to what

Defendant knew or should have known at the time the dangerous condition was created

by Defendant vis-à-vis, Its employee, John Doe. If Defendant employee John Doe was

trained to stack the totes a different way, this fact supports knowledge of the unreasonably


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dangerous condition, If the Defendant employee was not properly trained, the evidence

would be used to support the contention that Defendant should have known of an

unreasonably dangerous condition.

       Plaintiff and Defendant have agreed to file a joint motion to extend the discovery

deadline so that both parties can conduct needed discovery in this case. Trial on this

matter Is In September of 2025.

                                    CONCLUSION

       Under well-established rules of evidence, the challenged testimony is not hearsay.

Accordingly, this Court should reject Defendants’ request to strike and overrule the

objections.

                                         Respectfully submitted,

                                         COLE, COLE, EASLEY & SCIBA, P.C.
                                         302 West Forrest
                                         Victoria, Texas 77901
                                         Telephone: (361) 575-0551
                                         Facsimile:    (361) 575-0986
                                         E-mail:              evan@colefirmservice.com


                                         By:________________________________
                                               EVAN ANDERS
                                               State Bar No. 24079674
                                               Federal I.D. No. 3528933
                                               Attorneys for Plaintiff




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                            CERTIFICATE OF SERVICE

     By my signature above, I certify that a true and correct copy of the foregoing
document is being forwarded to counsel of record, on this the 29th day of April, 2025:

Via E-File Service
John A. Ramirez
Texas Bar No. 00798450
Alicia K. Patterson
Texas Bar No. 24121085
5615 Kirby, Suite 900
Houston, Texas 77005
(713) 626-1555 Telephone
(713) 622-8077 Telecopier
jramirez.atty@bushramirez.com
apatterson.atty@bushramirez.com




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